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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 23-1114-GW-KKx                                                  Date    February 21, 2024
 Title             Julie Barfuss, et al. v. Live Nation Entertainment, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                              None Present
                 Deputy Clerk                         Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                         None Present                                             None Present
 PROCEEDINGS:                IN CHAMBERS - ORDER


The Court has received the parties’ Stipulation to Continue Hearings on Motions to Dismiss (ECF No.
108). In light thereof, Defendants SoFi Tech. Inc.’s and Kroenke Sports & Ent., LLC’s motions to
stay/dismiss (ECF Nos. 103, 104) are taken off-calendar until reinstated by court order. The April 29,
2024 status conference remains on calendar and the parties shall file a joint report by April 23, 2024.




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                                                                 Initials of Preparer    JG
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